

Christopulos v Christopulos (2025 NY Slip Op 01344)





Christopulos v Christopulos


2025 NY Slip Op 01344


Decided on March 12, 2025


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on March 12, 2025
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

BETSY BARROS, J.P.
LINDA CHRISTOPHER
BARRY E. WARHIT
JAMES P. MCCORMACK, JJ.


2021-08217
 (Index No. 705015/14)

[*1]Gregory Christopulos, respondent, 
vKatherine Christopulos, etc., et al., defendants, Nicholas Spyreas, appellant.


Nicholas Spyreas, Greenwich, Connecticut, appellant pro se.
The Dweck Law Firm, LLP, New York, NY (Jack S. Dweck and Christopher S. Fraser of counsel), for respondent.



DECISION &amp; ORDER
In an action, inter alia, for an accounting, the defendant Nicholas Spyreas appeals from an order of the Supreme Court, Queens County (Frederick D.R. Sampson, J.), entered October 21, 2021. The order granted the plaintiff's motion to hold the defendant Nicholas Spyreas in civil contempt for his failure to comply with so much of an order of the same court dated January 29, 2021, as directed him to pay sanctions in the sum of $10,000.
ORDERED that the appeal is dismissed; and it is further,
ORDERED that the plaintiff is directed to file an affirmation or affidavit as to the amount of reasonable attorneys' fees and expenses he incurred in defending against this appeal, with proof of service thereof, with the Clerk of this Court, on or before April 14, 2025; the defendant Nicholas Spyreas may file an affirmation or affidavit in response to the plaintiff's affirmation or affidavit on or before April 28, 2025, if so advised; and it is further,
ORDERED that one bill of costs is awarded to the plaintiff.
The contentions of the defendant Nicholas Spyreas (hereinafter the defendant) that the plaintiff's motion to hold the defendant in civil contempt for his failure to comply with so much of an order dated January 29, 2021, as directed him to pay sanctions in the sum of $10,000 was not properly served and that the order to show cause was defective were raised in the defendant's subsequent motion to dismiss the plaintiff's contempt motion. The defendant's motion to dismiss has been addressed on a related appeal from an order entered November 8, 2021, which, inter alia, denied that motion (see Christopulos v Christopulos, ___ AD3d ___ [Appellate Division Docket No. 2021-08424; decided herewith]).
The defendant failed to file papers in opposition to the plaintiff's contempt motion. Therefore, the appeal must be dismissed, as no appeal lies from an order entered without opposition from the appealing party (see CPLR 5511; Federal Nat. Mtge. Assn. v Vivenzio, 229 AD3d 510; Matter of State Farm Ins. Co. v Eagle Ins. Co., 266 AD2d 397).
We agree with the plaintiff that the defendant has engaged in frivolous conduct within the meaning of 22 NYCRR 130-1.1(c) in pursuing this appeal, which lacks merit in either fact or law (see Laurenzano v Laurenzano, 208 AD2d 808, 809). We further note that this Court previously warned the defendant "that future submissions to this Court that qualify as frivolous conduct may result in the imposition of sanctions against him pursuant to 22 NYCRR 130-1.1" (Christopulos v Christopulos, 208 AD3d 746, 747). As such, we find that the defendant should compensate the plaintiff for costs in the form of reimbursement for reasonable attorneys' fees and expenses incurred in defending against this appeal (see 22 NYCRR 130-1.1[a]). Accordingly, the plaintiff is directed to submit an affirmation or affidavit as to the amount of such fees and expenses (see Webb v Greater N.Y. Auto. Dealers Assn., Inc., 144 AD3d 1134).
BARROS, J.P., CHRISTOPHER, WARHIT and MCCORMACK, JJ., concur.
ENTER:
Darrell M. Joseph
Clerk of the Court








